                                UNITED STATES DISTRICT COURT
 1
                                WESTERN DISTRICT OF MISSOURI
                                      CENTRAL DIVISION
 2

 3
     DANIEL MORRIS,                               )   Case No.
 4                                                )
                   Plaintiff,                     )   PLAINTIFF’S COMPLAINT FOR
 5
                                                  )   DAMAGES
          v.                                      )   (Unlawful Debt Collection Practices)
 6
     CAPITAL ONE BANK (USA), N.A.                 )
                                                  )
                   Defendant.                     )
 7
                                                  )
 8                                                )

 9
                                             COMPLAINT
10

11
           DANIEL MORRIS (“Plaintiff”), by his attorneys, alleges the following against
12
     CAPITAL ONE BANK (USA), N.A. (“Defendant”):
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        1. Plaintiff brings this action on behalf of himself individually seeking damages and any
14
           other available legal or equitable remedies resulting from the illegal actions of
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           Defendant, in negligently, knowingly, and/or willfully contacting Plaintiff on Plaintiff’s
16

17
           cellular telephone in violation of the Telephone Consumer Protection Act (hereinafter

18         “TCPA”), 47 U.S.C. § 227 et seq.

19                                 JURISDICTION AND VENUE

20      2. Defendant conducts business in the state of Missouri, and therefore, personal jurisdiction

21         is established.
22
        3. Jurisdiction of this Court arises under 28 U.S.C. § 1331 and 47 U.S.C. §227(b)(3). See,
23
           Mims v. Arrow Financial Services, LLC, 132 S.Ct. 740 (2012), holding that federal and
24
           state courts have concurrent jurisdiction over private suits arising under the TCPA.
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     4. Venue is proper in the United States District Court for the Western District of Missouri
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        pursuant to 28 U.S.C § 1391(b) because Plaintiff resides within this District and a
 2

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        substantial part of the events or omissions giving rise to the herein claims occurred, or a

 4      substantial part of property that is the subject of the action is situated within this District.

 5                                            PARTIES

 6   5. Plaintiff is a natural person residing in the county of Boone, in the city of Centralia,

 7      Missouri.
 8
     6. Defendant is a Virginia corporation doing business in the Missouri and has its principal
 9
        place of business in McLean, Virginia.
10
     7. At all times relevant to this Complaint, Defendant has acted through its agents,
11
        employees, officers, members, directors, heir, successors, assigns, principals, trustees,
12
        sureties, subrogees, representatives and insurers.
13
                                   FACTUAL ALLEGATIONS
14

     8. Defendant is a “person” as defined by 47 U.S.C. § 153(39).
15

16   9. Defendant placed collection calls to Plaintiff seeking and attempting to collect on alleged

17      debts owed by Plaintiff.

18   10. Defendant placed collection calls to Plaintiff’s cellular telephone at phone number (573)

19      982-95XX.
20
     11. Defendant placed collection calls to Plaintiff from phone numbers including, but not
21
        limited to, (800) 365-2024.
22
     12. Per its prior business practices, Defendant’s calls were placed with an automated
23
        telephone dialing system (“auto-dialer”).
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     13. Defendant used an “automatic telephone dialing system”, as defined by 47 U.S.C. §
 1
        227(a)(1) to place its telephone calls to Plaintiff seeking to collect a consumer debt
 2

 3
        allegedly owed by Plaintiff, DANIEL MORRIS.

 4   14. Defendant’s calls constituted calls that were not for emergency purposes as defined by

 5      47 U.S.C. § 227(b)(1)(A).

 6   15. Defendant’s calls were placed to a telephone number assigned to a cellular telephone

 7      service for which Plaintiff incurs a charge for incoming calls pursuant to 47 U.S.C. §
 8
        227(b)(1).
 9
     16. Defendant never received Plaintiff’s “prior express consent” to receive calls using an
10
        automatic telephone dialing system or an artificial or prerecorded voice on his cellular
11
        telephone pursuant to 47 U.S.C. § 227(b)(1)(A).
12
     17. On March 6, 2018, at or around 2:39 p.m. Pacific Standard Time, Plaintiff spoke with
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        Defendant’s male representative at (800) 365-2024 and requested that Defendant cease
14

        calling Plaintiff’s cellular phone.
15

16   18. During the conversation, Plaintiff gave his name, social security number, and date of

17      birth to assist Defendant’s representative in accessing his account before asking

18      Defendant to stop calling his cell phone.

19   19. Plaintiff revoked any consent, explicit, implied, or otherwise, to call his cellular
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        telephone and/or to receive Defendant’s calls using an automatic telephone dialing
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        system in his conversation with Defendant’s representative on March 6, 2018.
22
     20. Despite Plaintiff’s request to cease, Defendant continued to place collection calls to
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        Plaintiff through August 31, 2018.
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       21. Despite Plaintiff’s repeated request that Defendant cease placing automated collection
 1
          calls, Defendant placed at least One Hundred and Twenty-three (123) automated calls to
 2

 3
          Plaintiff’s cell phone.

 4                        FIRST CAUSE OF ACTION
     NEGLIGENT VIOLATIONS OF THE TELEPHONE CONSUMER PROTECTION ACT
 5                             47 U.S.C. § 227

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       22. Plaintiff repeats and incorporates by reference into this cause of action the allegations se t
 7
          forth above at Paragraphs 1-21.
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       23. The foregoing acts and omissions of Defendant constitute numerous and multiple
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10
          negligent violations of the TCPA, including but not limited to each and every one of the

11        above cited provisions of 47 U.S.C. § 227 et seq.

12     24. As a result of Defendant’s negligent violations of 47 U.S.C. § 227 et seq., Plaintiff is

13        entitled to an award of $500.00 in statutory damages, for each and every violation,

14        pursuant to 47 U.S.C. §227(b)(3)(B).
15
       25. Plaintiff is also entitled to seek injunctive relief prohibiting such conduct in the future.
16

17                     SECOND CAUSE OF ACTION
     KNOWING AND/OR WILLFUL VIOLATIONS OF THE TELEPHONE CONSUMER
18                         PROTECTION ACT
                          47 U.S.C. § 227 et. seq.
19
       26. Plaintiff repeats and incorporates by reference into this cause of action the allegations se t
20
          forth above at Paragraphs 1-21.
21
       27. The foregoing acts and omissions of Defendant constitute numerous and multiple
22
          knowing and/or willful violations of the TCPA, including but not limited to each and
23
          every one of the above cited provisions of 47 U.S.C. § 227 et seq.
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        28. As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. § 227 et seq.,
 1
            Plaintiff is entitled an award of $1,500.00 in statutory damages, for each and every
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 3
            violation, pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C. § 227(b)(3)(C).

 4      29. Plaintiff is also entitled to seek injunctive relief prohibiting such conduct in the future.

 5
                                          PRAYER FOR RELIEF
 6
            WHEREFORE, Plaintiff, DANIEL MORRIS, respectfully requests judgment be entered
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     against Defendant, CAPITAL ONE BANK (USA), N.A., for the following:
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                                        FIRST CAUSE OF ACTION
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        30. For statutory damages of $500.00 multiplied by the number of TCPA violations alleged
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            herein (123), $61,500.00;
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        31. Actual damages and compensatory damages according to proof at time of trial;
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                                      SECOND CAUSE OF ACTION
13      32. For statutory damages $1,500.00 multiplied by the number of TCPA violations alleged
14          herein (123), $184,500.00;
15      33. Actual damages and compensatory damages according to proof at time of trial;

16                                   ON ALL CAUSES OF ACTION

17      34. Costs and reasonable attorneys’ fees;

18      35. Any other relief that this Honorable Court deems appropriate.

19                                       JURY TRIAL DEMAND

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        36. Plaintiff demands a jury trial on all issues so triable.
21
                                                    RESPECTFULLY SUBMITTED,
22
        Dated: October 8, 2018
23
                                                    /s/ Gary Eastman________________
24                                                  Gary Eastman
                                                    The Eastman Law Firm
25                                                  4901 W. 126th St., Suite 240
                                                    Leawood, KS 66224

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                                              COMPLAINT
                                 Tel: (913) 908-9113
 1
                                 gary@eastmanlawfirm.com
                                 Attorney for Plaintiff
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